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                                             U.S. Departm

                                                       United States
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                                                       The Silvio J. Mollo
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                                                       New York, New Yor


                                                       October 19, 2020
   BY ECF

   The Honorable Analisa Torres
   United States District Judge
   Southern District of New York
   500 Pearl
   New York, New York 10007

          Re:     United States v. Alexander Collado, 20 Cr. 89 (AT)

   Dear Judge Torres:

            The parties jointly write to request, after conferring with chambers, that the conference
   scheduled in this matter for October 22, 2020 be adjourned until November 24, 2020. The basis
   for this request is that the parties’ discussions regarding a pretrial disposition and the Court’s
   ability to hold in-person proceedings have been limited in light of the ongoing COVID-19
   pandemic. The Government further requests that the Court exclude time until the next scheduled
   conference date under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A). The
   Government submits that this exclusion would be in the interests of justice in order to allow the
   defendant to continue to review discovery and for the parties to continue discussions regarding
   pretrial dispositions. Defense counsel consents to this exclusion of time.

                                                       Respectfully submitted,

                                                       AUDREY STRAUSS
                                                       Acting United States Attorney for
                                                       the Southern District of New York

GRANTED. The conference scheduled for October 22, 2020, is ADJOURNED to November 24,
2020, at 9:00 a.m. It is further ORDERED that time until November 24, 2020, is prospectively
excluded under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), because the ends of justice served
by excluding such time outweigh the interests of the public and Defendant in a speedy trial in
that this will allow for the Defendant to continue to review discovery and for the parties to
continue discussions regarding pretrial dispositions.

SO ORDERED.

Dated: October 19, 2020
       New York, New York
